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 1   DENNIS S. WAKS, BAR #142581
     Attorney at Law
 2   455 Capitol Mall, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 498-9871
 4   Attorney for Defendant
     KHAMLE KEOVILAY
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,      )
 9                                  )     CR. S-09-223-TLN
                       Plaintiff,   )
10                                  )     STIPULATION AND ORDER
                  v.                )
11                                  )
     KHAMLE KEOVILAY,               )     DATE: September 19, 2013
12                                  )     TIME: 9:30 a.m.
                       Defendant.   )     JUDGE: Hon. TROY L. NUNLEY
13                                  )
     __________________________     )
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15
          It is hereby stipulated and agreed to by the United States of
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     America through TODD D. LERAS, Assistant United States Attorney, and
17
     defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
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     that the status conference set for August 15, 2013, be continued to a
19
     status conference on Thursday, September 19, 2013, at 9:30 a.m.        This
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     continuance is being requested because defense counsel needs additional
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     time to prepare, to review discovery, and to interview witnesses.       The
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     parties have received a large amount of discovery, including Title III
23
     documents.
24
          Furthermore, the parties stipulate and agree that the interest of
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     justice served by granting this continuance outweighs the best interest
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     of the public and the defendant in a speedy trial. (18 U.S.C.
27
     §3161(h)(7)(A)).
28
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 1        Speedy trial time is to be excluded from the date of this order
 2   through the date of the status conference set for September 19, 2013,
 3   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
 4   (Local Code T4).
 5   DATED: August 12, 2013
 6                                     Respectfully submitted,
 7
                                       /s/ Dennis S. Waks
 8
                                       DENNIS S. WAKS
 9                                     Attorney for Defendant
                                       KHAMLE KEOVILAY
10
11
12   DATED: August 12, 2013
                                       BENJAMIN B. WAGNER
13                                     United States Attorney
14
                                       /s/ Dennis S. Waks for
15
                                       TODD D. LERAS
16                                     Assistant U.S. Attorney
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18
                                       O R D E R
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          Based on the stipulation of the parties and good cause appearing
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     therefrom, the Court hereby finds that the failure to grant a
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     continuance in this case would deny defense counsel reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.    The Court specifically finds that the ends of
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     justice served by the granting of such continuance outweigh the
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     interests of the public and the defendant in a speedy trial.           Based on
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     these findings and pursuant to the stipulation of the parties, the
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     Court hereby adopts the stipulation of the parties in its entirety as
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     its order.   Time is excluded from computation of time within which the
     trial of this matter must be commenced beginning from the date of the

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 1   stipulation through and including September 19, 2013, pursuant to 18
 2   U.S.C. §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense

 3   counsel to prepare] and Local Code T4.       A new status conference date is

 4   hereby set for September 19, 2013, at 9:30 a.m.

 5
 6   DATED: August 13, 2013

 7
                                                    Troy L. Nunley
 8                                                  United States District Judge

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